                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

LORALIE NOLET, Individually and on Behalf of ) Case No.: 17-cv-1657
All Others Similarly Situated,               )
                                             ) CLASS ACTION COMPLAINT
                                             )
              Plaintiff,                     )
       v.                                    )
                                             ) Jury Trial Demanded
AMSHER COLLECTION SERVICES, INC.,            )
                                             )
                                             )
              Defendant.                     )

                                         INTRODUCTION
       1.      This class action seeks redress for collection practices that violate the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”).

                                 JURISDICTION AND VENUE

       2.      The court has jurisdiction to grant the relief sought by the Plaintiff pursuant to 15

U.S.C. § 1692k and 28 U.S.C. §§ 1331 and 1337. Venue in this District is proper in that

Defendant directed its collection efforts into the District.

                                             PARTIES

       3.      Plaintiff Irma Gomez is an individual who resides in the Eastern District of

Wisconsin (Milwaukee County).

       4.      Plaintiff is a “consumer” as defined in the FDCPA, 15 U.S.C. § 1692a(3), in that

Defendant sought to collect from her a debt allegedly incurred for personal, family, or household

purposes.

       5.      Defendant AmSher Collection Services, Inc. (“AmSher”) is foreign corporation

with its principal offices located at 4524 Southlake Parkway, Suite 15, Hoover, AL 35244.

       6.      AmSher is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.



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       7.      AmSher is engaged in the business of collecting debts owed to others and

incurred for personal, family or household purposes. AmSher is a debt collector as defined in 15

U.S.C. § 1692a.

                                              FACTS

       8.      On or about March 15, 2017, AmSher mailed a debt collection letter to Plaintiff

regarding an alleged debt owed to “T-MOBILE.” A copy of this letter is attached to this

complaint as Exhibit A.

       9.      Upon information and belief, the alleged debt that AmSher was attempting to

collect was a cell phone service account, used only for personal, family, or household purposes.

       10.     Upon information and belief, Exhibit A is a form letter, generated by computer,

and with the information specific to Plaintiff inserted by computer.

       11.     Upon information and belief, Exhibit A is a form debt collection letter used by

AmSher to attempt to collect alleged debts.


       12.     Upon information and belief, Exhibit A is the first written communication that

AmSher sent to Plaintiff regarding the alleged debt to which that letter refers.

       13.     Exhibit A contains the following text:




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         14.     The above language in Exhibit A is the debt validation notice that the FDCPA

requires to be included with the initial written communication to the consumer. 15 U.S.C. §

1692g.

         15.     Exhibit A also contains the following settlement offer:




         16.     The above offer requires that “the settlement amount must be paid in one payment

and is only valid until 10/31/2016” if the consumer wants to take advantage of it. Exhibit A.

         17.     Thus, in order to accept the settlement offer, Exhibit A requires Plaintiff to make

a payment by April 29, 2017. Exhibit A.

         18.     If Exhibit A was actually mailed on March 15, 2017, the 30 day validation period

identified in Exhibit A would end only a few days before the settlement offer in Exhibit A

expires. See 15 U.S.C. § 1692g(a).

         19.     Exhibit A is confusing to the unsophisticated consumer because it demands a

payment within the validation period or shortly thereafter, but does not explain how the

validation period and the overlapping settlement “deadline” fit together. Bartlett v. Heibl, 128

F.3d 497, 500 (7th Cir. 1997) (“In the typical case, the letter both demands payment within thirty

days and explains the consumer’s right to demand verification within thirty days. These rights

are not inconsistent, but by failing to explain how they fit together the letter confuses.”).

         20.     The unsophisticated consumer would have no idea how to both seek verification

of the debt and preserve the settlement offer in Exhibit A.




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       21.      The consumer needs time to process the information contained in an initial debt

collection letter before deciding whether to dispute, pay or take other action. This is the point of

the 30 day period in 15 U.S.C. 1692g(a).

       22.      Prior to deciding whether to dispute a debt, a consumer may have to sort through

personal records and/or memories to try to remember if the debt might be legitimate. She may

not recognize the creditor – debts are freely assignable and corporations, especially banks, often

change names.

       23.      Moreover, once a consumer sends a dispute in writing, the creditor is under no

obligation to provide verification in any specific amount of time, or even to provide verification

at all, so long as the debt collector ceases collection efforts until it does so. Jang v. A.M. Miller &

Assocs., 122 F.3d 480, 483 (7th Cir. 1997) (“Section 1692g(b) thus gives debt collectors two

options when they receive requests for validation. They may provide the requested validations

and continue their debt collecting activities, or they may cease all collection activities.”)

       24.      The § 1692g validation period lasts for 30 days. It is the consumer’s right to

request verification until the end of the thirty day period. If the request is not made until the end

of the thirty day period, the verification request would not be processed, researched by the

creditor, and returned to the consumer until long after settlement offer payment deadline has

expired. The consumer would be left with no time to review the verification and determine

whether to accept the settlement offer.

       25.      The unsophisticated consumer would have no idea how to both seek verification

of the debt and preserve the settlement offers in Exhibit A. It is likely that the settlement offer

would expire before the debt collector provides verification. The consumer would be left with

little or no time to review the verification and determine whether to accept the settlement offer.



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       26.     The effect of the settlement offer in the initial written debt communication is to

discourage or prevent consumers from exercising their validation rights.

       27.     Upon information and belief, the purpose of including a settlement offer in the

initial written debt communication is to discourage or prevent consumers from exercising their

validation rights to determine whether the debt is valid or correct in amount.

       28.     Defendant did not include any explanatory language in Exhibit A, see, eg.

Bartlett, 128 F.3d 497, 501-02 (7th Cir. 1997).

       29.     Any explanatory language should make clear whether the debt collector or

creditor will, in fact, extend the settlement offer while the debt collector is in the process of

complying with its obligation to verify the debt. If the offer actually requires the consumer to

forgo verification, the letter should say so as well.

       30.     Plaintiff was confused by Exhibit A.

       31.     The unsophisticated consumer would be confused by Exhibit A.

       32.     Plaintiff had to spend time and money investigating Exhibit A and the

consequences of any potential responses to Exhibit A.

       33.     Plaintiff had to take time to obtain and meet with counsel, including traveling to

counsel’s office by car and its related expenses, including but not limited to the cost of gasoline

and mileage, to advise Plaintiff on the consequences of Exhibit A.

       34.     The FDCPA creates substantive rights for consumers; violations cause injury to

consumers, and such injuries are concrete and particularized. Pogorzelski v. Patenaude & Felix

APC, No. 16-C-1330, 2017 U.S. Dist. LEXIS 89678 *9 (E.D. Wis. June 12, 2017) (“A plaintiff

who receives misinformation from a debt collector has suffered the type of injury the FDCPA

was intended to protect against.”); Spuhler v. State Collection Servs., No. 16-CV-1149, 2017



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U.S. Dist. LEXIS 177631 (E.D. Wis. Oct. 26, 2017) (“As in Pogorzelski, the Spuhlers’

allegations that the debt collection letters sent by State Collection contained false representations

of the character, amount, or legal status of a debt in violation of their rights under the FDCPA

sufficiently pleads a concrete injury-in-fact for purposes of standing.”); Bock v. Pressler &

Pressler, LLP, No. 11-7593, 2017 U.S. Dist. LEXIS 81058 *21 (D.N.J. May 25, 2017) (“through

[s]ection 1692e of the FDCPA, Congress established ‘an enforceable right to truthful information

concerning’ debt collection practices, a decision that ‘was undoubtedly influenced by

congressional awareness that the intentional provision of misinformation’ related to such

practices, ‘contribute[s] to the number of personal bankruptcies, to marital instability, to the loss

of jobs, and to invasions of individual privacy,”); Quinn v. Specialized Loan Servicing, LLC, No.

16 C 2021, 2016 U.S. Dist. LEXIS 107299 *8-13 (N.D. Ill. Aug. 11, 2016) (rejecting challenge

to Plaintiff’s standing based upon alleged FDCPA statutory violation); Lane v. Bayview Loan

Servicing, LLC, No. 15 C 10446, 2016 U.S. Dist. LEXIS 89258 *9-10 (N.D. Ill. July 11, 2016)

(“When a federal statute is violated, and especially when Congress has created a cause of action

for its violation, by definition Congress has created a legally protected interest that it deems

important enough for a lawsuit.”); Church v. Accretive Health, Inc., No. 15-15708, 2016 U.S.

App. LEXIS 12414 *7-11 (11th Cir. July 6, 2016) (same); see also Mogg v. Jacobs, No. 15-CV-

1142-JPG-DGW, 2016 U.S. Dist. LEXIS 33229, 2016 WL 1029396, at *5 (S.D. Ill. Mar. 15,

2016) (“Congress does have the power to enact statutes creating legal rights, the invasion of

which creates standing, even though no injury would exist without the statute,” (quoting Sterk v.

Redbox Automated Retail, LLC, 770 F.3d 618, 623 (7th Cir. 2014)). For this reason, and to

encourage consumers to bring FDCPA actions, Congress authorized an award of statutory

damages for violations. 15 U.S.C. § 1692k(a).



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       35.     Moreover, Congress has explicitly described the FDCPA as regulating “abusive

practices” in debt collection. 15 U.S.C. §§ 1692(a) – 1692(e). Any person who receives a debt

collection letter containing a violation of the FDCPA is a victim of abusive practices. See 15

U.S.C. §§ 1692(e) (“It is the purpose of this subchapter to eliminate abusive debt collection

practices by debt collectors, to insure that those debt collectors who refrain from using abusive

debt collection practices are not competitively disadvantaged, and to promote consistent State

action to protect consumers against debt collection abuses”).

                                      COUNT I – FDCPA

       36.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       37.     The statement on Exhibit A that “[t]his settlement amount must be paid in one

payment and is valid until 04/29/2017” conflicts with and overshadows the debt validation

notice, in that it demands a payment within the validation period or shortly thereafter, but does

not explain how the validation notice and settlement “deadline” fit together. 15 U.S.C. § 1692g;

Bartlett, 128 F.3d at 500.

       38.     Exhibit A is confusing, deceptive, and/or misleading to the unsophisticated

consumer.

       39.     15 U.S.C. § 1692g(b) states, in part:

       (b) Disputed debts
       …
       Any collection activities and communication during the 30-day period may not
       overshadow or be inconsistent with the disclosure of the consumer’s right to
       dispute the debt or request the name and address of the original creditor.




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         40.     15 U.S.C. § 1692e provides, in relevant part: “A debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

         41.     15 U.S.C. § 1692e(10) prohibits: “The use of any false representation or deceptive

means to collect or attempt to collect any debt or to obtain information concerning a consumer.

         42.     Defendant violated 15 U.S.C. §§ 1692e, 1692e(10) and 1692g.

                                       CLASS ALLEGATIONS

         43.     Plaintiffs bring this action on behalf of a Class, consisting of (a) all natural

persons in the State of Wisconsin (b) who were sent a collection letter in the form represented by

Exhibit A to the complaint in this action, (c) seeking to collect a debt for personal, family or

household purposes, (d) between November 28, 2016 up to and including November 28, 2017,

inclusive, (e) that was not returned by the postal service.

         44.     The Class is so numerous that joinder is impracticable. On information and belief,

there are more than 50 members of the Class.

         45.     There are questions of law and fact common to the members of the class, which

common questions predominate over any questions that affect only individual class members.

The predominant common question is whether the Defendants complied with 15 U.S.C. § 1692e,

1692e(10), and 1692g.

         46.     Plaintiff’s claims are typical of the claims of the Class members. All are based on

the same factual and legal theories.

         47.     Plaintiff will fairly and adequately represent the interests of the Class members.

Plaintiff has retained counsel experienced in consumer credit and debt collection abuse cases.




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       48.     A class action is superior to other alternative methods of adjudicating this dispute.

Individual cases are not economically feasible.

                                        JURY DEMAND

       49.     Plaintiff hereby demand a trial by jury.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

the Class and against Defendant for:

       (a)     actual damages;

       (b)     statutory damages;

       (c)     attorneys’ fees, litigation expenses and costs of suit; and

       (d)     such other or further relief as the Court deems proper.

Dated: November 28, 2017


                                                      ADEMI & O’REILLY, LLP

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